Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main
Document Page 1of12

B7 (Official Form 7) (04/13) &
UNITED STATES BANKRUPTCY COURT Z
Con, Ly, &0o
District of Columbia Pong > Upp

j ley Str, Te.

qo. a” Cun he
In re: ANDREW JAMES WALKER Case No. ‘s

Debtor af known)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter J2 or chapter 13. a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe. guardian." Do not disclose the child's name. See. [1 U.S.C.
$112 and Fed. R. Bankr. P. 1007(m).

Questions | - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is ''None,"’ mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known). and the number of the question.

DEFINITIONS

“In business." A debtor is "in business” for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is “in business” for the purpose of this form if the debtor is or has been, within six years immediately preceding
the tiling of this bankruptcy case. any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation: a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

“Insider.” The term “insider” includes but is not limited to: relatives of the debtor: general partners of the debtor and
their relatives: corporations of which the debtor is an officer, director, or person in control: officers, directors, and any persons in
control of a corporate debtor and their relatives: affiliates of the debtor and insiders of such affiliates: and any managing agent of
the debtor. 11 U.S.C. § 101(2), G1).

1. Income from employment or operation of business

None (Hare the gross amount of income the debtor has received from employment, trade. or profession, or from operation of

the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts recetved during the
two years immediately preceding this calendar year. (A debtor that maintains. or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter {2 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main
Document Page 2 of 12

B7 (Official Form 7) (04/13)

i

(=) Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment. trade. profession, operation of the

debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT SOURCE

{= }yments to creditors

Complete a. or b., as appropriate, and c.

None
a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is tiled, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS PAID STILL OWING

None

b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $6,225’. If the debtor is an individual, indicate with an asterisk
(*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
Not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.
Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main

Document Page 3 of 12

B7 (Official Form 7) (04/13) 3

None

c. Alldebtors: List all payments made within one year immediately preceding the commencement of this case

to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

None

None

4. Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition 1s filed, unless the spouses are separated
and a joint petition is not filed.)

CAPTION OF SUIT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDING AND LOCATION DISPOSITION

b Describe all property that has heen attached. garnished or seized under any legal or equitable process within one
year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE OF DESCRIPTION
OF PERSON FOR WHOSE SEIZURE AND VALUE
BENEFIT PROPERTY WAS SEIZED OF PROPERTY

None

{= l possessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE OF REPOSSESSION, DESCRIPTION
OF CREDITOR OR SELLER FORECLOSURE SALE, AND VALUE
TRANSFER OR RETURN OF PROPERTY

Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main

Document Page 4 of 12

B7 (Official Form 7) (04/13) 4

None

6. Assignments and receiverships

a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter: 13 must include any assignment by
either or bath spouses whether or not a foint petition is filed, unless the spouses are separated and a joint petition is not
tiled.)

NAME AND ADDRESS DATE OF TERMS OF
OF ASSIGNEE ASSIGNMENT ASSIGNMENT
OR SETTLEMENT

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition ts not filed.)

None

NAME AND ADDRESS NAME AND LOCATION DATE OF DESCRIPTION
OF CUSTODIAN OF COURT ORDER AND VALUE

CASE TITLE & NUMBER Of PROPERTY
7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether cr not a joint petition is filed. unless
the spouses are separated and a joint petition is not tiled.)

NAME AND ADDRESS RELATIONSHIP DATE DESCRIPTION
OF PERSON TO DEBTOR, OF GIFT AND VALUE
OR ORGANIZATION IF ANY OF GIFT

8. Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not tiled.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF DATE
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART OF LOSS
PROPERTY BY INSURANCE, GIVE PARTICULARS

Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main

Document Page 5 of 12

B7 (Official Form 7) (04/13) 5

None

{= hyments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS DATE OF PAYMENT, AMOUNT OF MONEY OR
OF PAYEE NAME OF PAYER IF DESCRIPTION AND
OTHER THAN DEBTOR VALUE OF PROPERTY

None

None

=)ner transfers

a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed. unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATE DESCRIBE PROPERTY
OF TRANSFEREE, TRANSFERRED AND
RELATIONSHIP TO DEBTOR VALUE RECEIVED

b. List all property transterred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR'S
INTEREST IN PROPERTY

None

11. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
checking, savings. or other financial accounts, certificates of deposit, or other struments; shares and share accounts
held in banks. credit unions, pension funds, cooperatives. associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed. unless the spouses are
separated and a joint petition is not filed.)

NAME AND ADDRESS TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
OF INSTITUTION DIGITS OF ACCOUNT NUMBER, DATE OF SALE
AND AMOUNT OF FINAL BALANCE OR CLOSING

Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main
Document Page 6 of 12

B7 (Official Form 7) (04/13) 6

12. Safe deposit boxes

one List each safe deposit or other box or depository in which the debtor has or had securities. cash, or other valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter {3 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY

13. Setoffs

None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding

the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

NAME AND ADDRESS DATE OF AMOUNT
OF CREDITOR SETOFF OF SETOFF

14. Property held for another person

None List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND LOCATION OF PROPERTY
OF OWNER VALUE OF PROPERTY

15. Prior address of debtor

None

If debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
filed. report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main

Document Page 7 of 12

B7 (Official Form 7) (04/13)

None

16. Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the community property state.

NAME

None

None

None

17. Environmental! Information.
For the purpose of this question, the following definitions apply:

“Environmental Law” means any federal, state, or local statute or regulation regulating pollution. contamination,
releases of hazardous or toxic substances, wastes or material into the air, land. soil, surface water, groundwater, or
other medium. including. but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

"Site" means any location, facility, or property as defined under any Environmental Law. whether or not presently or
formerly owned or operated by the debtor, including. but not limited to, disposal sites.

"Hazardous Material” means anything defined as a hazardous waste, hazardous substance. toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

a. List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with

respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party

to the proceeding, and the docket number.

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

None

18. Nature, location and name of business

a. Ifthe debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner. or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed 1n a trade, profession, or
Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main

Document Page 8 of 12

B7 (Official Form 7) (04/13) 8

None

other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
the commencement of this case.

If the debror is a partnership, \ist the names, addresses, taxpayer-identification numbers, nature of the businesses. and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting Or equity securities, within six years immediately preceding the commencement of this case.

[f the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities within six years immediately preceding the commencement of this case.

NAME LAST FOUR DIGITS ADDRESS NATURE OF BUSINESS — BEGINNING AND
OF SOCIAL-SECURITY ENDING DATES
OR OTHER INDIVIDUAL
TAXPAYER-ED. NO.
(ITIN)/ COMPLETE EIN

b. Identify any business listed in response to subdivision a., above. that is “single asset real estate” as
defined in 11 U.S.C. § LOt.

NAME ADDRESS

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual

debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director. managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation: a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in

business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six vears should go directly to the signature page.)

None

None

19. Books, records and financial statements

a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
case have audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED
Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main
Document Page 9 of 12

B7 (Official Form 7) (04/13) 9

None c. List all firms or individuals who at the tme of the commencement of this case were in possession of the

books of account and records of the debtor. If any of the books of account and records are not available. explain.
NAME ADDRESS

None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a

financial statement was issued by the debtor within two years immediately preceding the commencement of this case.
NAME AND ADDRESS DATE ISSUED

20. Inventories

None a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of each inventory, and the dollar amount and basis of each inventory.

DATE OF INVENTORY INVENTORY SUPERVISOR DOLLAR AMOUNT
OF INVENTORY
(Specify cost, market or other basis)

None b. List the name and address of the person having possession of the records of each of the inventories reported
in a.. above.
DATE OF INVENTORY NAME AND ADDRESSES
OF CUSTODIAN

OF INVENTORY RECORDS

21. Current Partners, Officers, Directors and Shareholders

None a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
partnership.

NAME AND ADDRESS NATURE OF INTEREST =PERCENTAGE OF INTEREST
None b. — [f the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the

corporation.
NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main

Document Page 10 of 12

B7 (Official Form 7) (04/13) 10

None

None

22. Former partners, officers, directors and shareholders

a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

b. Ef the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

23. Withdrawals from a partnership or distributions by a corporation

If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case.

NAME & ADDRESS DATE AND PURPOSE AMOUNT OF MONEY
OF RECIPIENT, OF WITHDRAWAL OR DESCRIPTION
RELATIONSHIP TO DEBTOR AND VALUE OF PROPERTY

None

24. Tax Consolidation Group.
lf the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at anv time within six years

immediately preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER-IDENTIFICATION NUMBER (EIN)

None

25. Pension Funds.
If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
which the debtor. as an employer, has been responsible for contributing at any time within six years immediately

preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER-IDENTIFICATION NUMBER (EIN)

[If completed by an individual or individual and spouse]
Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main
Document Page 11 of 12

B7 (Official Form 7) (04/13) It

IT declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
and any attachments thereto and that they are true and correct.
|

Lo
Date / fraps Signature of Debtor

} ’
i

Date Signature of Joint Debtor (if any)

[Tf completed on hehalf of a partnership or corporation]

declare under penalty of perjury that ] have read the answers contained im the foregoing statement of financtal affairs and any attachments
thereto and that they are true and correct to the best of my knowledge. information and belief.

Date Signature

Print Name and Title

{An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor J

continuation sheets attached

Penal for makmg a false statement Fine of up to $500 000 or imprisonment for up to S years, or both 18 US C gg 152 and 3571

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See LI U.S.C. § 110)

I declare under penalty of perjury that: (1) [ama bankruptcy petition preparer as defined tn 11 U S.C. § 110: (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S C. 88 110(b), 110(h), and
342(b). and, (3) 1f rules or guidelines have been promulgated pursuant to (1 U S.C. § 110ch) setting a maximum fee for services chargeable by bankruptcy
petition preparers, [ have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section

Printed or Typed Name and Title. 1f any, of Bankruptcy Petition Preparer Social-Security No (Required by 11 USC § 110.)

If the bankruptcy petition preparer ty not an individual, state the name, tule (if any), address, and social-security manber of the officer, principal,
responsible person, or partner who signs this document

Address

Signature of Bankruptcy Petition Preparer Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer ts
not an individual:

{[f more than one person prepared this document. attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title LI and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both, 18 U.S.C. § 156.
Case 15-00541-SMT Docs Filed 10/15/15 Entered 10/15/15 15:08:25 Desc Main
Document Page 12 of 12

Official Form 7

(12/07)
In re ANDREW JAMES WALKER Case No. _
STATEMENT OF FINANCIAL AFFAIRS
(CONTINUATION SHEET)
Question
No (from

sheet above) Further Description

NONE

Sheet __ of __ continuation
sheets attached to Statement of Financial Affairs

